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UNITED STATES OF AMER|CA,

vs. No. 05 - 20076 - B

DEBRA FRANKL|N,

Defendant.

 

ORDER ON MOT|ON TO W|THDRAW REPRESENTAT|ON

 

This cause came before the Court upon thejune 24, 2005 motion of
counsel for the defendant to Withdraw his representation. For good cause shown,
counse|’s motion is granted and Randa|| P. Salky is relieved of further

representation in cause numbers 05-20076-»3.

iT |S SO ORDERED. /p\B`L£/\\

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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Honorable J. Breen
US DISTRICT COURT

